DATE: December 7, 2021


             The following cases in which the Court of Appeals issued published opinions have been
      appealed to the Supreme Court:

          1. Caine Calif Davis
             v. Commonwealth of Virginia
             Record No. 1134-20-4
             Opinion rendered by Judge Humphreys on
              September 28, 2021

          2. William Joseph Morgan
             v. Commonwealth of Virginia
             Record No. 1139-20-1
             Opinion rendered by Judge Huff on
              October 5, 2021

          3. Alonzo Devon White
             v. Commonwealth of Virginia
             Record No. 0994-20-4
             Opinion rendered by Judge Russell on
              October 12, 2021
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Shaka Markel Long
   v. Commonwealth of Virginia
   Record No. 1971-19-1
   Opinion rendered by Judge Beales
   on January 26, 2021
   Refused (210205)

2. Clyde Carleton Koons, IV, f/k/a Clyde Carleton Crane, IV
   v. Leslie Elizabeth Crane
   Record No. 0580-20-4
   Opinion rendered by Judge O’Brien
     on February 2, 2021
   Dismissed pursuant to Code § 17.1-410(A)(3) and (B) (210238)

3. Jason L. Brooks
    v. Commonwealth of Virginia
    Record No. 0209-21-4
    Opinion rendered by Judge Humphreys
     on April 13, 2021
     Refused (210457)
